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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                               TEL. 504-310-7700
CLERK                                                    600 S. MAESTRI PLACE,
                                                                 Suite 115
                                                        NEW ORLEANS, LA 70130

                             July 05, 2022


Ms. Deborah A. Kriegshauser
U.S. District Court
Northern District of Texas
1100 Commerce Street
15th Floor
Dallas, TX 75242

      No. 22-10556    Assoc of Club Exct v. City of Dallas, TX
                      USDC No. 3:22-CV-177


Dear Ms. Kriegshauser,
We have not received your acknowledgment of the enclosed purchase
order for the transcript in this case. We assume the appellant
has made the necessary financial arrangements for preparing the
transcript.   You have 30 days from the date we received the
purchase order to file the transcript with the district court
clerk.   We will adjust this time only in the event financial
arrangements are not complete.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Laney L. Lampard, Deputy Clerk
                                 504-310-7652
Enclosure(s)
cc:
      Mr. Roger Earl Albright
      Mrs. Latrice Andrews
      Ms. Ana Marie Jordan
      Ms. Karen S. Mitchell
      Mr. J. Michael Murray
      Mr. Nicholas Dane Palmer
      Mr. James Bickford Pinson
      Mr. Thomas Craig Sheils
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           Case:
    TRANSCRIPT   22-10556
               ORDER        Document:
                      FORM (DKT-13)    00516358443
                                       00516381832
                                    - READ          Page:
                                           INSTRUCTIONS ON1 LAST
                                                              Date Filed:
                                                                 PAGE     06/15/2022
                                                                          07/05/2022
                                                                       BEFORE    COMPLETING
               Case 3:22-cv-00177-M Document 63 Filed 07/05/22                       Page 3 of 4 PageID 9994
District Court __________________________________________ District Court Docket No.____________________________________
Short Case Title ____________________________________________________________________________________________________
ONLY ONE COURT REPORTER PER FORM Court Reporter _____________________________________________________

Date Notice of Appeal Filed in the District Court ________________________ Court of Appeals No. _________________________

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
  No hearings Transcript is unnecessary for appeal purposes Transcript is already on file in the Clerk’s Office
 OR
 Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: Bail Hearing _________________ Voir Dire ________________
  Opening Statement of Plaintiff ________________        Opening Statement of Defendant _________________
  Closing Argument of Plaintiff ________________        Closing Argument of Defendant:________________
  Opinion of court _________________        Jury Instructions ________________   Sentencing _________________
Other proceedings not listed above:
 Hearing Date(s) Proceeding                                                           Judge/Magistrate




Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.
B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
  Private Funds;      Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);
  Other IFP Funds;       Advance Payment Waived by Reporter;     U.S. Government Funds
  Other____________________________________________________________________________________________________________


Signature_________________________________________________________ Date Transcript Ordered__________________________
Print Name_______________________________________________________ Phone ___________________________________________
Counsel for_________________________________________________________________________________________________________
Address____________________________________________________________________________________________________________
Email of Attorney: _________________________________________________________________________________________________
PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason:    Deposit not received     Unable to contact ordering party     Awaiting creation of CJA 24 eVoucher
                  Other (Specify) _____________________________________________________________________________________

Date ____________________ Signature of Reporter ____________________________________________Tel._____________________
Email of Reporter _________________________________________________________________________________________________
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

        This is to certify that the transcript has been completed and filed at the District Court today.

        Actual Number of Pages ___________________________                Actual Number of Volumes________________________

Date ___________________________ Signature of Reporter ____________________________________________________________
              Case: 22-10556TRANSCRIPT
                                Document: 00516381832
                                          00516358443   Page: 2 Date Filed: 07/05/2022
                                          ORDER FORM INSTRUCTIONS           06/15/2022
              Case 3:22-cv-00177-M Document 63 Filed 07/05/22 Page 4 of 4 PageID 9995
                    INSTRUCTIONS FOR ANYONE FILING A NOTICE OF APPEAL
1. Complete Part 1. Whether or not transcripts are being ordered. A single order form should be used for
the same court reporter with multiple proceedings (if the number of proceedings exceed the form
limitations, additional forms may be used).

2. Contact each court reporter involved in reporting the proceedings to make arrangements for payment.
A SEPARATE ORDER FORM MUST BE COMPLETED FOR EACH COURT REPORTER.

3. Send a copy of the form to the court reporter (via email or mail, ask court reporter). CJA counsel must
also enter an Authorization-24 in the U. S. District Court’s eVoucher System. Once the Authorization-24
is approved, create the CJA 24 eVoucher for payment.

4. File a copy of this form with the District Court.

5. File a copy of this form with the U.S. Court of Appeals for the Fifth Circuit (Attorneys must e-file. Pro
se filers must mail form unless authorized to e-file).

6. Send a copy to other parties.

7. Retain a copy for your files.

FAILURE TO MAKE SATISFACTORY ARRANGEMENTS FOR TRANSCRIPT PRODUCTION,
INCLUDING FINANCIAL ARRANGEMENTS WITHIN 14 DAYS OF THE FILING OF THE NOTICE
OF APPEAL, MAY RESULT IN THE DISMISSAL OF YOUR APPEAL.

This is an electronic version of the original multipart form. It is your responsibility for ensuring that the
correct number of copies are made to meet the distribution requirements.

                                     INSTRUCTIONS TO COURT REPORTER
To assure the Court of Appeals that the ordering party has fulfilled his or her obligations under FRAP 10(b), for
ordering and making adequate financial arrangements with the court reporter, you are requested to complete Part
II and file with the Court of Appeals within ten (10) days after receipt. For information on becoming an e-filer,
please contact a deputy clerk at the number below.

It is the appellant's responsibility to contact you and make financial arrangements before filling out the form.
However, if financial arrangements have not been made within ten (10) days after receipt of transcript order,
complete Part II and file with the Court of Appeals. If financial negotiations with the ordering party are still in
progress when the 10 days expires, contact a deputy clerk for additional time to complete this form.

If financial arrangements are made after you have notified the Court of Appeals that no financial arrangement
were made, immediately notify the Court in writing of the fact, furnishing the estimated delivery date.

THE JUDICIAL COUNCIL'S DISCOUNT DATE BEGINS TO RUN FROM THE DATE SATISFACTORY
FINANCIAL ARRANGEMENTS HAVE BEEN MADE.

WRITTEN REQUEST FOR EXTENSION OF TIME WITH EXPLANATION OF CIRCUMSTANCES AND A
REQUEST FOR WAIVER OF DISCOUNT MUST BE ADDRESSED TO THE CLERK OF THE CIRCUIT COURT.

Link to contact information: Contact Clerk's Office About My Case or call:
NORTHERN AND WESTERN TEXAS CASE TEAM: 504-310-7806
SOUTHERN AND EASTERN TEXAS CASE TEAM: 504-310-7807
LOUISIANA, MISSISSIPPI, & AGENCY CASE TEAM: 504-310-7808
